

People v Hernandez (2025 NY Slip Op 01948)





People v Hernandez


2025 NY Slip Op 01948


Decided on April 2, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ANGELA G. IANNACCI, J.P.
PAUL WOOTEN
DEBORAH A. DOWLING
LAURENCE L. LOVE, JJ.


2023-07463
2023-07473

[*1]The People of the State of New York, respondent,
vRafael A. Hernandez, appellant. (Ind. Nos. 70718/22, 70305/23)


Margaret M. Walker, Poughkeepsie, NY (Seth J. Gallagher of counsel), for appellant.
Anthony P. Parisi, District Attorney, Poughkeepsie, NY (Jason Richland of counsel), for respondent.



DECISION &amp; ORDER
Appeals by the defendant from two judgments of the County Court, Dutchess County (Jessica Segal, J.), both rendered June 20, 2023, convicting him of criminal possession of a controlled substance in the third degree under Indictment No. 70718/22, and criminal possession of a firearm under Superior Court Information No. 70305/23, upon his pleas of guilty, and imposing sentences.
ORDERED that the judgments are affirmed.
Contrary to the defendant's contention, the record demonstrates that he knowingly, voluntarily, and intelligently waived his right to appeal (see People v Victor, _____ AD3d _____, 2025 NY Slip Op 00887; People v Young, 225 AD3d 903; People v Sutton, 184 AD3d 236, 245; see also People v Williams, 227 AD3d 480, 481). The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentences imposed were excessive (see People v Lopez, 6 NY3d 248, 256).
IANNACCI, J.P., WOOTEN, DOWLING and LOVE, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








